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 8                       UNITED STATES DISTRICT COURT

 9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                           April 2021 Grand Jury

11   UNITED STATES OF AMERICA,            ED CR No. 5:21-cr-00158-JWH

12            Plaintiff,                  I N D I C T M E N T

13                  v.                    [8 U.S.C. §§ 1326(a), (b)(2):
                                          Alien Found in the United
14   ESAU GAMALIEL GOMEZ-ZARATE,          States Following Deportation]
        aka “Esau Gamaliel
15           Zarate-Gomez,”

16            Defendant.

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18        The Grand Jury charges:
19                       [8 U.S.C. §§ 1326(a), (b)(2)]
20        On or about May 20, 2021, defendant ESAU GAMALIEL GOMEZ-
21   ZARATE, also known as (“aka”) Esau Gamaliel Zarate-Gomez, an
22   alien, who had been officially deported and removed from the
23   United States on or about December 7, 2018, was found in San
24   Bernardino County, within the Central District of California,
25   after knowingly and voluntarily re-entering and remaining in the
26   United States without having obtained permission from the
27   Attorney General or his designated successor, the Secretary for
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